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                                                                                               FILED
                                                                                          IN OPEN COURT



                    IN THE UNITED STATES DISTRICT COURT FOR THE                          JAN 1

                               EASTERN DISTRICT OF VIRGINIA                         CLL;ftK.. U.S. DISTRICT COURT
                                                                                        NEWPORT NEWS. VA


                                      Newport News Division

 UNITED STATES OF AMERICA                             CRIMINAL NO. 4:17CR118


        V.                                            18 U.S.C. § 1349
                                                      Conspiracy to Commit Bank Fraud
 MARLON MCKNIGHT                                      (Count 1)
 (Counts 1,2-3, 14-16,21)
                                                      18 U.S.C. §§ 1344 and 2
 KARIVA CROSS                                         Bank Fraud
 (Counts 1,6,13-15,18,21)                             (Counts 2-15)

 ERICA LATIN-HUNTER,                                  18 U.S.C. §§ 1028A and 2
 (Counts 1,4-5,17)                                    Aggravated Identity Theft
                                                      (Counts 16-21)
 PAMELA WYATT,
 (Counts 1, 7-8, 19)                                  18 U.S.C. § 982(a)(2)
                                                      Asset Forfeiture
 ANTOINETTE BEAMON
 (Counts 1.9,12, 19-20)

 THERBIA PARKER, JR.,
 (Counts 1, 10-11, 20)

                Defendants.


                                SUPERSEDING INDICTMENT


                          January 2018 Term - At Newport News, Virginia

                                   GENERAL ALLEGATIONS


        i.      Langley Federal Credit Union ("LFCU") is a financial institution, as defined in

 Title 18, United States Code, Section 20, operating in the Eastern District of Virginia and

 elsewhere.   Specifically, LFCU is a member-owned, not-for-profit financial cooperative

 chartered and regulated under the authority of the National Credit Union Administration

 ("NCUA"), which administers the National Credit Union Share Insurance Fund.



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       2.      LFCU accepts applications for LFCU membership through, among other means,

its Internet-connected website. Among other accounts and services, LFCU offers its members

consumer loans, including but not limited to personal loans and vehicle loans. LFCU also

accepts online applications for such consumer loan accounts.

       3.      Among other information, LFCU requires applicants for membership and

consumer loans to provide various means of identification, as defined in Title 18, United States

Code, Section 1028(d)(7), including the applicant's name, date of birth, and social security

number. For vehicle loans, LFCU further requires vehicle information, including the year,

make, model, and vehicle identification number ("VIN") of the vehicle identified as collateral for

the loan. The truth and accuracy of this personal identifying information and vehicle

information is material to LFCU's decisions to open, approve, and issue such memberships and

consumer loans.
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                                            COUNT ONE


        THE GRAND JURY CHARGES THAT;

         1.      The factual allegations set forth in the General Allegations are incorporated herein

as if set out in full.

        2.       Beginning on a date unknown to the Grand Jury, but believed to be no later than

in or about at least December 2015 and continuing until a date unknown but believed to be

through in or about at least May 2016, in the Eastern District of Virginia and elsewhere,

MARLON MCKNIGHT, KARIVA CROSS, ERICA LATIN-HUNTER, PAMELA WYATT,

ANTOINETTE BEAMON, and THERBIA PARKER JR., the defendants herein, and other

conspirators, both known and unknown to the GrandJury, did knowingly and willfully combine,

conspire, confederate and agree with each other and others known and unknown to the Grand

Jury, to knowingly executeand attemptto executea scheme and artifice to defraud and to obtain

money, funds, credits, assets, securities, and other property owned by and under the custody and

control of a financial institution as defined under Title 18, United States Code, Section 20, by

means of materially false and fraudulent pretenses, representations and promises in violation of

Title 18, United States Code, Section 1344.

                         WAYS. MANNER. AND MEANS OF THE CONSPIRACY


         The ways, manner, and means by which the foregoing objectives of the conspiracy to

commit bank fraud were to be accomplished included, but were not limited to, the following:

         3.      The primary purpose of the conspiracy and the scheme and artifice was for

MCKNIGHT, CROSS, LATIN-HUNTER, WYATT, BEAMON, PARKER, and other

conspirators to obtain through fraudulent means money, funds, credits, assets, securities, and

other property owned by and under the control of financial institutions located in the Eastern
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District and elsewliere, including LFCU, by using stolen personal identifying information to

fraudulently obtain loans and loan proceeds from such institutions in the names of others.

       4.        It was part of the conspiracy and the scheme and artifice that conspirators

fraudulently obtained through various means personal identifying information of other

individuals, including names, dates of birth, social security numbers, and copies of government-

issued identification documents.


        5.     It was further part of the conspiracy and the scheme and artifice that conspirators

used the fraudulently obtained personal identifying information of others to apply for, open, and

attempt to open new member, bank, credit, and consumer loan accounts in the names of the

individuals to whom that information belonged, without their knowledge or consent.

Conspirators applied for, opened, and attempted to open such accounts with financial institutions

operating in the Eastern District of Virginia and elsewhere, including LFCU.

       6.      It was further part of the conspiracy and the scheme and artifice that conspirators

opened additional accounts in their own names with the same financial institutions, including

LFCU, which accounts conspirators used in furtherance of the conspiracy and the scheme and

artifice as described herein.

        7.     It was further part of the conspiracy and the scheme and artifice that conspirators

used Internet-connected computers and terminals to apply for, open, and attempt to open the

accounts described herein.

        8.     It was further part of the conspiracy and the scheme and artifice that, when

applying for and opening accounts in the names of others, conspirators provided materially false

information concerning, among other things, the true identityof the applicant and, in the case of

vehicle loans, the collateral used to secure those loans. Among other things, conspirators falsely
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claimed to be the titleholders and sellers of vehicles they did not own and over which they did

not exercise control.

       9.       It was further part of the conspiracy and the scheme and artifice that conspirators

submitted via, among other means, facsimile transmissions forged and counterfeit vehicle titles

and bills of sale, which documents falsely identified conspirators, including MCKNIGHT and

LATIN-HUNTER, as the owners and sellers of the vehicles listed as collateral in fraudulent loan

applications.

        10.     It was ftirther part of the conspiracy and the scheme and artifice that, through the

false promises and material misrepresentations described herein, conspirators caused financial

institutions, including LFCU, to issue consumer loans, including personal loansand vehicle

loans, in the names of others, without those individuals' knowledge or consent.

        11.     It was further part of the conspiracy and the scheme and artifice that, in the case

of fraudulently obtained personal loans, conspirators directed and caused the issuing financial

institutions, including LFCU, to deposit the proceedsof such personal loans into accounts

conspirators had opened with the same institutions in the names of the individuals falsely

identified as the applicants for such loans.

        12.     It was further partof the conspiracy and the scheme and artifice that, following

the disbursement of such personal loan proceeds into these fraudulently opened accounts,

conspirators transferred those proceeds via the Internet to accounts issued by the same financial

Institutions to conspirators, including CROSS, WYATT, BEAMON, and PARKER.

        13.     It was further partof the conspiracy and the scheme and artifice that, following

such transfers, conspirators, including MCKNIGHT, CROSS, WYATT, BEAMON, and

PARKER, withdrew the transferred loan proceeds in the form of U.S. currency from the
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accounts into which conspirators had transferred those proceeds. Conspirators, including

MCKNIGHT, CROSS, WYATT, BEAMON, and PARKER, conducted these withdrawals at

branches of the financial institutions that had issued the personal loans, which branches were

 located in the Eastern District of Virginia.

         14.    It was further part of the conspiracy and the scheme and artifice that, in the case

of fraudulently obtained vehicle loans, conspirators caused the issuing financial institutions,

including LFCU, to create and print financial instruments, including checks, made payable to

conspirators who posed as vehicle sellers, including MCKNIGHT and LATIN-HUNTER, in the

full amount of the fraudulently obtained vehicle loans.

         15.    It was further part of the conspiracy and the scheme and artifice that conspirators

caused the financial institutions issuing such loans to mail and ship such financial instruments,

including checks, via the United States mails and private commercial interstate carriers to

locations in the Eastern District of Virginia.

         16.    It was further part of the conspiracy and the scheme and artifice that conspirators

removed such financial instruments, including checks, from the United States mails and from

authorized depositories for mail matter.

         17.    It was further part of the conspiracy and the scheme and artifice that conspirators,

including MCKNIGHT and LATIN-HUNTER, presented such instruments for negotiation and

cashing at branches ofthe financial institutions that had issued the vehicle loans, which branches

were located in the Eastern District of Virginia, and thereby obtained and attempted to obtain

additional financial instruments, including checks, and U.S. currency in the full amount of such

fraudulently obtained vehicle loans.

        (In violation of Title 18, United States Code, Sections 1349 and 1344.)
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                             COUN rs TWO TMROUGH FIFTEEN


       THE GRAND JURY FURTHER CHARGES THAT:


       1.      The Grand Jury realleges and incorporates by reference the allegations contained

in Paragraphs 1 through 3 of the General Allegations and in Paragraphs 3 through 17 of Count

One set forth above.


       2.      On or about the dates and in the manner set forth below, in the Eastern District of

Virginia and elsewhere. MARLON MCKNIGHT, KARIVA CROSS. ERICA LATIN-HUNTER,

PAMELA WYATT, ANTOINETTE BEAMON, and THERBIA PARKER JR., the defendants

herein, aided and abetted by others, and along with other conspirators known and unknown to the

Grand Jury, did knowingly and willfully execute and attempt to execute a scheme and artifice to

defraud and to obtain the moneys, funds, crcdits, assets, securities owned by and under the

custody and control of Langlcy Federal Credit Union("LFCU"), which qualifies as a financial

institution as defined under Title 18, United States Code, Section 20, by means of the materially

false and fraudulent pretenses, representations and promises identified below:


                       Defendant                                Pescription/Puipose ofTrans^^
                                                                                                     kLi
                                                              Cashing of check number 1220071
                                                              made payable to MCKNIGHT the
                                             LFCU             amount of $19,500. which check was
2    12/5/2015     MCKNIGHT             *♦** Granby St.       drawn on an LFCU vehicle loan
                                       Norfolk. Virginia      account (ending in 5491-L50)
                                                              fraudulently opened in the name of
                                                              D.P.
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                                                   Cashing of check number 1168693
                                                   made payable to MCKNIGHT in the
                                                   amount of $8,000, which check was
                                    LFCU           funded with proceeds of the LFCU
3    12/7/2015    MCKNIGHT    *♦* Aberdeen Rd.     vehicle loan account (last four digits
                              Hampton, Virginia    ending in 5491-L50) fraudulently
                                                   opened in the name of D.P. and issued
                                                   at MCKNIGHT'S direction during the
                                                   transaction charged in Count 2.
                      •



                                                   Cashing of check number 1220114
                                                   made payable to LATIN-HUNTER
                                                   regarding K.B. and "2013 Nissan" in
                                    LFCU
                   LATIN-                          the amount of $37,000, which check
4    12/12/2015                    Granby St.
                  HUNTER                           was drawn on an LFCU vehicle loan
                              Norfolk, Virginia
                                                   account (ending in 6072-L50)
                                                   fraudulently opened in the name of
                                                   K.B.


                                                   Cashing of check number 1168728
                                                   made payable to LATIN-HUNTER in
                                                   the amount of $22,000, which check
                                   LFCU            was funded with proceeds of the LFCU
                   LATIN-
5   12/14/2015                *** Aberdeen Rd.     vehicle loan account (last four digits
                  HUNTER
                              Hampton, Virginia    ending in 6072-L50) fraudulently
                                                   opened in the name of K.B. and issued
                                                   at LATIN-HUNTER's direction during
                                                   the transaction charged in Count 4.

                                                   Withdrawal of $600.00 from LFCU
                                                   checking account (ending in 9009-S14)
                                                   following transfer of $1,100.00 of
                                   LFCU
                                                   fraudulently obtained personal loan
6    4/20/2016     CROSS      **'•' Aberdeen Rd.
                                                   proceeds from an LFCU checking
                              Hampton, Virginia
                                                   account (ending in 5191-Sl 1)
                                                   fraudulently opened in the name of
                                                   M.C.

                                                   Withdrawal of $5,000 from LFCU
                                                   savings account (ending in 4602-Sl)
                                                   following transfer of $5,000 of
                                   LFCU
                                                   fraudulently obtained personal loan
7    4/21/2016     WYAll      *** Aberdeen Rd.
                                                   proceeds from an LFCU checking
                              Hampton, Virginia
                                                   account (ending in 7388-Sl 1)
                                                   fraudulently opened in the name of
                                                   R.D.
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                                                    Withdrawal of $5,000 from LFCU
                                                    savings account (ending in 4602-Sl)
                                                    following transfer of $5,000 of
                                    LFCU
                                                    fraudulently obtained personal loan
8    4/25/2016   WYAll         *** Aberdeen Rd.
                                                    proceeds from an LFCU checking
                              Hampton, Virginia
                                                    account (ending in 7388-Sl 1 )
                                                    fraudulently opened in the name of
                                                    R.D.

                                                    Withdrawal of $5,000 from LFCU
                                                    savings account (ending in 8170-Sl)
                                                    following transfer of $5,000 of
                                    LFCU
                                                    fraudulently obtained personal loan
9    4/29/2016   BEAMON       *** Volvo Pkwy.
                                                    proceeds from an LFCU checking
                             Chesapeake, Virginia
                                                    account (ending in 7388-SI1 )
                                                    fraudulently opened in the name of
                                                    R.D.

                                                    Withdrawal of $4,500 from LFCU
                                                    checking account (ending in 9319-S14)
                                                    following transfer of $5,000 of
                                    LFCU
                                                    fraudulently obtained personal loan
10    5/7/2016   PARKER             Taylor Rd.
                                                    proceeds from an LFCU checking
                               Chesapeake, VA
                                                    account (ending in 8805-Sl 1)
                                                    fraudulently opened in the name of
                                                    M.K.

                                                    Withdrawal of $5,000 from LFCU
                                                    checking account (ending in 9319-S14)
                                                    following transfer of $5,500 of
                                    LFCU
                                                    fraudulently obtained personal loan
11    5/9/2016   PARKER        ♦*** Taylor Rd.
                                                    proceeds from an LFCU checking
                               Chesapeake, VA
                                                    account (ending in 8805-Sl I)
                                                    fraudulently opened in the name of
                                                    M.K.


                                                    Withdrawal of $5,000 from LFCU
                                                    savings account (ending in 8170-S1)
                                                    following transfer of $5,000 of
                                    LFCU
                                                    fraudulently obtained personal loan
12   5/10/2016   BEAMON             Granby St.
                                                    proceeds from an LFCU checking
                               Norfolk, Virginia
                                                    account (ending in 8805-SI1)
                                                    fraudulently opened in the name of
                                                    M.K.
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                                                              Withdrawal of $2,500.00 from LFCU
                                                              checking account (ending in 9009-S14)
                                                              following transfer of $5,000.00 of
                                            LFCU
                                      *** Aberdeen Rd.
                                                              fraudulently obtained personal loan
13    6/25/2016      CROSS
                                                              proceeds from an LFCU checking
                                      Hampton, Virginia
                                                              account (ending in 3294-Sl 1)
                                                              fraudulently opened in the name of
                                                              M.B.

                                                              Withdrawal of $2,500.00 from LFCU
                                                              checking account (ending in 9009-S14)
                                                              following transfer of $3,800.00 of
                                            LFCU
                   MCKNIGHT                                   fraudulently obtained personal loan
14    6/28/2016                       *♦* Aberdeen Rd.
                     CROSS                                    proceeds from an LFCU checking
                                      Hampton, Virginia
                                                              account (ending in 3294-Sl 1)
                                                              fraudulently opened in the name of
                                                              M.B.


                                                              Withdrawal of $900.00 from LFCU
                                                              checking account (ending in 9009-S14)
                                                              following transfer of $3,800.00 of
                                            LFCU
                   MCKNIGHT                                   fraudulently obtained personal loan
15    6/29/2016                    **** W. Mercury Blvd.
                     CROSS                                    proceeds from an LFCU checking
                                     Hampton, Virginia
                                                              account (ending in 3294-Sl 1)
                                                              fraudulently opened in the name of
                                                              M.B.


       (In violation of Title 18, United States Code, Sections 1344 and 2.)




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                               COUNTS SIXTEEN THROUGH TWENTY-ONE

               THE GRAND JURY FURTHER CHARGES THAT:

               1.      The Grand Jury realleges and incorporates by reference the allegations contained

        in Paragraphs 1 through 3 of the General Allegations and in Paragraphs 3 through 17 of Count

        One set forth above.

               2.      On or about the dates and in the manner set forth below, in the Eastern District of

        Virginia, MARLON MCKNIGHT, KARIVA CROSS, ERICA LATIN-HUNTER, PAMELA

        WYATT, ANTOINETTE BEAMON, and THERBIA PARKER JR., the defendants herein,

        along with and aided and abetted by others known and unknown to the Grand Jury, did

        unlawfully, knowingly and intentionally transfer, possess and use, without lawful authority, a

        means of identification of anotherduring and in relation to felony violationsof provisions

        contained in Chapter 63 of Title 18, to wit: Conspiracy to Commit Bank Fraud, in violation of

        Title 18, United States Code, Section 1349:

              Date
                                               Means of             Description/Puipose of            Felony
Count        (On or      Defendant(s)
                                             Identification               Transaction                Violation
            About)
                                                                 Fraudulent application and
                                         Name, date of birth     opening of LFCU
                                         (»*/*»/! 951), and      membership (last four digits    18U.S.C.
 16        12/1/2015     MCKNIGHT        social security         5491), savings account          §1349
                                         number (last four       (ending in 5491-SI), and        (ref Count 1)
   "i
                                         digits 3022) of D.P.    vehicle loan (ending in
                                                                 5491-L50)

                                                                 Fraudulent application and
                                         Name, date of birth     opening of LFCU
                                         (*»/*»/! 967), and      membership (last four digits    18U.S.C.
                           LATIN-
 17       12/10/2015                     social security         6072), savings account          §1349
                          HUNTER
                                         number (last four       (ending in 6072-Sl), and        (ref. Count 1)
                                         digits 4568) ofK.B.     vehicle loan (ending in
                                                                 6072-L50)




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                                                          Fraudulent application and
                                  Name, date of birth     opening of LFCU
                                  (**/**/! 952), and      membership (last four digits
                                                                                         18U.S.C.
                    CROSS         social security         5191), savings account
18   3/28/2016                                                                           §1349
                                  number (las four        (ending in 5191-SI),
                                                                                         (ref. Count 1)
                                  digits 7915) of M.C.    checking account (ending in
                                                          5191-Sll)and personal
                                                          loan (ending in 5191-L51)

                                                          Fraudulent application and
                                  Name, date of birth     opening of LFCU
                                  (*♦/♦»/! 957), and
                                                          membership (last four digits
                   BEAMON                                                                18U.S.C.
                                  social security         7388), savings account
19   4/18/2016                                                                           §1349
                    WYAll
                                  number (last four       (ending in 7388-Sl),
                                                          checking account (ending in    (ref Count 1)
                                  digits 7432) ofR.D.
                                                          7388-Sl 1) and personal
                                                          loan (ending in 7388-L51)

                                                          Fraudulent application and
                                                          opening of LFCU
                                  Name, date of birth
                                  (»*/»V1961),and         membership (last four digits
                   BEAMON                                                                18U.S.C.
                                  social security         8805), savings account
20   5/03/2016
                                                          (ending in 8805-Sl),           § 1349
                   PARKER
                                  number (last four                                      (ref. Count 1)
                                                          checking account (ending in
                                  digits 2053) ofM.K.
                                                          8805-Sl 1) and personal
                                                          loan (ending in 8805-L51)

                                                          Fraudulent application and
                                  Name, date of birth
                                                          opening of LFCU
                                  (♦*/**/1983).and
                                                          membership (last four digits
                                                                                         I8U.S.C.
                    CROSS                                 3294), savings account
21   6/23/2016                    social security                                        §1349
                 MCKNIGHT
                                  number (last four
                                                          (ending in 3294-Sl),
                                                                                         (ref. Count 1)
                                                          checking account (ending in
                                  digits 9500) ofM.B.
                                                          3294-Sl 1) and personal
                                                          loan (ending in 3294-L51)

        (In violation of Title 18, United States Code, Sections 1028A(a)(l) and (c) and 2.)




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                                  FORFEITURE ALLEGATION


 THE GRAND JURY FURTHER ALLEGES AND FINDS PROBABLE CAUSE THAT;

    1. The defendants, if convicted of any of the violations alleged in Counts One through

       Fifteen of this Indictment, shall forfeit to the United States, as part of the sentencing

       pursuant to Federal Rule of Criminal Procedure 32.2, any property constituting, or

       derived from, proceeds obtained directly or indirectly, as the result of the violation.

    2. If any property that is subject to forfeiture above, as a result of any act or omission of the

       defendant, (a) cannot be located upon the exercise of due diligence, (b) has been

       transferred to, sold to, or deposited with a third party, (c) has been placed beyond the

       jurisdiction of the Court, (d) has been substantially diminished in value, or (e) has been

       commingled with other property that cannot be divided without difficulty, it is the

        intention of the United States to seek forfeiture of any other property of the defendant, as

       subject to forfeiture under Title 21, United States Code, Section 853(p).

    3. The property subject to forfeiture includes, but is not limited to, the following:

           a. A monetary judgment an amount representing the proceeds each defendant

               obtained from the scheme alleged in this indictment.

        (In accordance with Title 18, United States Code, Section 982(a)(2)).




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UNITED STATES v. MCKNIGHT ET AL., 4:17CR118


                                              A TRUE BILL:




                                              FOREPERSON


      DANA J. BOENTE
      UNITED STATES ATTORNEY



By:   9^//C.(yfrdt^
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